












Petition for Writ of
Mandamus Dismissed and Memorandum Opinion filed May 6, 2010.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00361-CV

NO. 14-10-00362-CV

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&nbsp;

IN RE BRIAN K. MCPHERSON, Relator

&nbsp;

&nbsp;

&nbsp;



ORIGINAL PROCEEDING

WRIT OF MANDAMUS

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&nbsp;

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MEMORANDUM
OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On April 23, 2010, Relator, Brian K. McPherson, filed two
petitions for writ of mandamus in this Court.&nbsp; See Tex. Gov’t Code Ann
§22.221 (Vernon 2004); see also Tex. R. App. P. 52.1. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This Court’s mandamus jurisdiction is governed by section
22.221 of the Texas Government Code.&nbsp; Section 22.221 expressly limits the
mandamus jurisdiction of the courts of appeals to:&nbsp; (1) writs against a
district court judge or county court judge in the court of appeals’ district,
and (2) all writs necessary to enforce the court of appeals' jurisdiction.&nbsp;
Tex. Gov’t Code Ann. § 22.221 (Vernon 2004).&nbsp; Because the petitions for writ of
mandamus are directed toward a district court outside of this court’s district
and is not necessary to enforce this court’s jurisdiction, we have no
jurisdiction.[1]&nbsp;
See Tex. Gov’t Code Ann. § 22.221(b)(1).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, the petitions for writ of mandamus are ordered
dismissed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

&nbsp;

Panel
consists of Justices Brown, Sullivan, and Christopher.









[1]
This does not, of course, prevent the court from addressing the trial court’s
failure to file properly requested findings of fact and conclusions of law in
conjunction with Relator’s appeals (No 14-10-00314-CV &amp; 14-10-00315-CV), if
the issue is properly raised.







